              Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 1 CTCH
                                                              CASE NO.     of 14 PageID# 6
 WARRANT OF ARREST-FELONY
 C0MM9NWEjiaTH.<?F VIRGINIA            Va.Code % 19.2-71,-72
 •• •« ' '-'
           a' ;■
       •'                                                      Ofeneral District Court [x] Criminal [ ] Traffic             ACCUSED:
 FMrf3X                                                    [ ] Juvenile and Domestic Relations District Court
                     OTYORCOUIJTY
                                                                                                                                        LAST NAME, FIRST NAME. MIDDLE NAME


 TO ANY AUTHORIZED OFFICER:                                                                                                  .l0.7.4.l.Maj:IbrQUgb.Fl.Oj8d„....„
                                                                                                                                                  ' ADDRESS/LOCATION
      You are hereby commanded in the name of the Commonwealth of Virginia forthvrith to arrest and
                                                                                                                             .Fairfax,. VA12_031^                                                     Hearing Datc/Tlme
 bring the Accused before this Court to answer the charge that the Accused, within this city or county,
 on or about                                          did unlawfully and feloniously in violation of Section                           COMPLETE DATA BELOW IP KNOWN •
                                                                                                                             RACE I SEX I         BORN         I         IIT!         I WGT.
                                                                                                           of Virginia:                     MO.   DAY    YR.       FT.          IN.

                                                                                                                             W     M         10/10/1972            5'       10" 220
 attempt to maliciously cause bodily Iniury to Ueske, John with the intent to maim, disfigure, disable, or idll.


                                                                                                                                    T6814Q556                                           V/

                                                                                                                                        [ ] Commercial Driver's License


                                                                                                                               CLASS              5                      FELONY
                                                                                                                                 EXECUTED by arresting the Accused named
                                                                                                                            'above on this day.

                                                                                                                               inix
                                                                                                                                '
                                                                                                                                               om
                                                                                                                                  ' DATE AND TI^ OF SERVICE
                                                                                                                                                                                , Arresting Officer


                                                                                                                                        BADGE NO.. AGENCY AJJD JURISDICTICW



                                                                                                                                                          SHERIFF

 I, the undersigned, have found probable cause to believe that the Accused committed the offense                            Attorney for the Accused:
 charged, based on the sworn statements of

'Klier^J/Ra.n.....3173M...Fa^^^                                                                        .Coniplamant         Short Offense Description (uot a legal defmition):
                                                                                                                            MAUCIOUS BODILY INJURY
                                                                                                                            Attempt
GCRE/Fingerprinting Required                                ,      Vx                                                       Offense Tracking Number:
                                                                                                                                                                                                      FELONY
 09/14/2019 12:24 PM                                                                                                                   059GM1900056948
         DATE
         DATE AND
              AND TIME
                  TIME ISSUED
                       ISSUED                                   Vj [] CLERK'"^'iaroiSTRATB        n^tlDQE
                                                                                                                            FOR administrative USE ONLY
                                                     Maria McCormick
                  TAKE BUCCAL SAMPLE IFLtDSSHOWS NO DNA SAMPLE IN DATA BANK                                                      Virginia Crime Code: ASL-1334-A3
 FORMDC.312(MASTER,PAOBONBOFTWO)lO/n                  .       .      ,  .   ,
                                                                    Check if sample previously taken:               Check If sample taken for this arrest:
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 2 of 14 PageID# 7
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 3 of 14 PageID# 8
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 4 of 14 PageID# 9
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 5 of 14 PageID# 10
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 6 of 14 PageID# 11
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 7 of 14 PageID# 12
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 8 of 14 PageID# 13
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 9 of 14 PageID# 14
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 10 of 14 PageID# 15
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 11 of 14 PageID# 16
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 12 of 14 PageID# 17
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 13 of 14 PageID# 18
Case 1:20-cv-00242-LO-TCB Document 1-1 Filed 03/04/20 Page 14 of 14 PageID# 19
